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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                Case No. 19-80030-CR-DIMITROULEAS


   UNITED STATES OF AMERICA

   vs.

   BLACKSTONE LABS, LLC,

                     Defendant.
   - - - - - - - - - - - - - - -I
                                           PLEA AGREEMENT

          The Office of the United States Attorney for the Southern District of Florida and the United

   States Department of Justice, Consumer Protection Branch (hereinafter, the "government") and

   BLACKSTONE LABS, LLC, (hereinafter, the "defendant" or "BLACKSTONE") enter into the

   following plea agreement:

          1.         Defendant is a Florida limited liability corporation, with its principal office in Boca

   Raton, Florida.

          2.         Defendant agrees to plead guilty to Count 1 of the Indictment, charging the crime

   of conspiracy to defraud the United States, namely the U.S. Food and Drug Administration (FDA);

   and to commit mail fraud in violation of Title 18, United States Code, Section 1341; and to commit

   wire fraud in violation of Title 18, United States Code, Section 1343; all in violation of Title 18,

   United States Code, Sections 371; to Count 3 of the Indictment, the introduction of unapproved

   new drugs into interstate commerce with intent to defraud and mislead, in violation of Title 21,

   United States Code, Sections 33l(d), 333(a)(2), and 355(a), and Title 18, United States Code,

   Section 2; and to Count 4 of the Indictment, which charges conspiracy to manufacture and


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   distribute Schedule III controlled substances, in violation of Title 21, United States Code, Sections

   841(a)(l), 84l(b)(l)(E)(i), and 846.

          This plea agreement and any plea of guilty, which the defendant may enter under this

   agreement, are contingent upon the entry of a guilty plea by co-defendant Phillip Braun in the

   above-entitled case. If Phillip Braun fails to enter a guilty plea, then this plea agreement, and any

   proceedings conducted pursuant to this plea agreement, may be withdrawn or voided at the option

   of the government.

          3.      The government agrees to seek dismissal of Counts 2, 5, 6, and 7 of the Indictment,

   as to this defendant, after sentencing.

          4.      The defendant will provide the government written evidence, in the form of a

   resolution under penalty of perjury by the majority owner of the company, certifying that the

   defendant is authorized to plead guilty to a violation of Title 18, United States Code, Section 371,

   as charged in Count 1 of the Indictment; to a violation of Title 21, United States Code, Sections

   331(d), 333(a)(2), and 355(a), and Title 18, United States Code, Section 2, as charged in Count 3

   of the Indictment; and to a violation of Title 21, United States Code, Sections 841(a)(l),

   841 (b)(1 )(E)(i), and 846, as charged in Count 4 of the Indictment; and certifying that the defendant

   is authorized to enter into and comply with all provisions of this plea agreement. This resolution

   shall further state that the Chief Operating Officer of the defendant is authorized to take these

   actions and that all corporate formalities have been observed. The defendant agrees to have a

   designated representative to act on its behalf in proceedings in the present case and to appear on

   defendant's behalf to enter a plea of guilty and for the imposition of sentence.

          5.      The defendant is aware that the sentence will be imposed by the Court after

   considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
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   "Sentencing Guidelines"). The defendant acknowledges and understands that the Court will

   compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

   will be determined by the Court relying in part on the results of a pre-sentence investigation by the

   Court's probation office, which investigation will commence after the guilty plea has been entered.

   The defendant is also aware that, under certain circumstances, the Court may depart from the

   advisory sentencing guideline range that it has computed, and may raise or lower that advisory

   sentence under the Sentencing Guidelines. The defendant is further aware and understands that

   the Court is required to consider the advisory guideline range determined under the Sentencing

   Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

   to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either

   more severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts,

   the defendant understands and acknowledges that the Court has the authority to impose any

   sentence within and up to the statutory maximum authorized by law for the offenses identified in

   Paragraph 2 and that the defendant may not withdraw the plea solely as a result of the sentence

   imposed.

           6.      As to Count 1, the defendant understands and acknowledges that the Court may

   impose a statutory maximum term of probation ofup to five (5) years' probation, pursuant to Title

   18, United States Code, Section 3561(c)(l) and a fine of up to $500,000, pursuant to Title 18,
                                        /
   United States Code, Section 3571(c)(3), or not more than the greater of twice the gross gain or

   twice the gross loss, pursuant to Title 18, United States Code, Section 3571(d). The Court may

   also order forfeiture and restitution.

           As to Count 3, the defendant understands and acknowledges that the Court may impose a

   term of probation of up to five (5) years. In addition, the Court may impose a fine of up to
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   $500,000, or not more than the greater of twice the gross gain or twice the gross loss, pursuant to

   Title 18, United States Code, Section 3571(d). The Court also may order forfeiture and restitution.

          As to Count 4, the defendant understands and acknowledges that the Court may impose a

   term of probation of up to five (5) years. In addition, the Court may impose a fine of up to

   $2,500,000, pursuant to Title 21, United States Code, Section 841(b)(l)(E)(i), or not more than the

   greater of twice the gross gain or twice the gross loss, pursuant to Title 18, United States Code,

   Section 357l(d). The Court also may order forfeiture and restitution.

          These sentences may be run consecutively.

          7.      The defendant further understands and acknowledges that, in addition to any

   sentence imposed under Paragraph 16 of this agreement, a special assessment in the amount of

   $1,200 will be imposed on the defendant, pursuant to Title 18, United States Code, Section

   3013(a)(2)(B). The defendant agrees that any special assessment imposed shall be paid at the time

   of sentencing. If the defendant is financially unable to pay the special assessment, the defendant

   agrees to present evidence to the government and the Court at the time of sentencing as to the

   reasons for the defendant's failure to pay.

          8.      The government reserves the right to inform the Court and the probation office of

   all facts pertinent to the sentencing process, including all relevant information concerning the

   offenses committed, whether charged or not, as well as concerning the defendant and the

   defendant's background.     Subject only to the express terms of any agreed-upon sentencing

   recommendations contained in this agreement, the government further reserves the right to make

   any recommendation as to the quality and quantity of punishment.




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           9.       The government and the defendant agree that, although not binding on the probation

   office or the Court, they will jointly recommend that the Court make the following fmdings and

   conclusions as to the sentence to be imposed:

   As to Count 1, the crime of conspiracy:

           As to the object of the conspiracy - to defraud the U.S. Food and Drug Administration -

   the government and the defendant agree that, although not binding on the Probation Office or the

   Court, they will jointly recommend that the Court make the following findings and conclusions as

   to the sentence to be imposed:

                    a.     Base Offense Level. Under Guidelines Sections 2Xl.l(a) and 2Cl.l(a)(2),

   the base offense level is 12.

                    b.     Chapter 2 Adjustments. There are none.

                    C.     Chapter 3 Adjustments. The adjustments in Parts, A, B, C, and E do not

   apply, pursuant to Section 8Al .2, commentary, application note 2.

                    d.     Estimated Offense Level. Based on these recommendations, the parties

   estimate that the total offense level is 12.

           As to the objects of the conspiracy - to commit mail and wire fraud - the government and

   the defendant agree that,, although not binding on the Probation Office or the Court, they will

   jointly recommend that the Court make the following findings and conclusions as to the sentence

   to be imposed:

                    a.     Base Offense Level.     Under Sections 2Xl.l(a) and 2Bl.l(a), the base

   offense level is 6.

                    b.     Loss.    Under Sections 2Bl.l(b)(l)(I) and lBl.3, the loss is between

   $1,500,000 and $3,500,000. The offense level will increase by 16.
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                   c.     Increase for Mass-Marketing. Under Section 2Bl.l(b)(2)(A), the offense

   conduct was committed through mass-marketing. Therefore, the offense level will increase by 2

   levels.

                   d.      Chapter 3 Adjustments: The adjustments in Parts, A, B, C, and E do not

   apply, pursuant to Section 8Al.2, commentary, application note 2.

   As to Count 3, the introduction of an unapproved new drug into interstate commerce:

                   a.      Base Offense Level. Under Guidelines Sections 2N2.l(c)(l) and 2Bl.l(a),

   the base offense level is 6.

                   b.      Loss.   Under Sections 2Bl.l(b)(l)(I) and lBl.3, the loss is between

   $1,500,000 and $3,500,000. The offense level will increase by 16.

                   c.      Mass Marketing. Under Section 2B 1.1 (b)(2)(A), the offense was committed

   through mass-marketing, and the offense level will increase by 2.

   As to Count 4, conspiracy to manufacture and distribute controlled substances:

                   a.      Base Offense Level. The base offense level is 20, pursuant to Sections

   2Dl.l(a)(5) and 2Dl.l(c)(10).

                   b.     Mass-Marketing. The base offense level will increase by 2, pursuant to

   Section 2Dl.l(b)(7), because controlled substances were distributed through mass-marketing by

   means of an interactive computer service.

                   c.      Premises for Distribution of Controlled Substances. The base offense level

   will increase by 2, pursuant to Section 2D 1.1 (b)( 12), because the defendant maintained a building

   or premises for the purpose of distributing controlled substances.

             10.   Grouping. The parties agree that under Chapter 3, Part D, there are two groups.

   One concerns the conspiracy to defraud the FDA and the conspiracy to commit mail and wire
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   fraud. The second concerns the conspiracy to manufacture and distribute controlled substances.

   Each is governed by Section 3Dl.2(d). Under Section 3Dl.3(b), the parties agree that the Court

   should use the guideline that produces the highest offense level, namely, the group that concerns

   the Count 1 conspiracy, resulting in an offense level of 24.

          Based on the foregoing, the parties agree that the total adjusted offense level would be 24.

   The government agrees that it will not recommend an upward variance from the advisory guideline

   range based upon any ofthe factors under 18 U.S.C. § 3553(a), provided thatthe advisory guideline

   range determined by the Court is not lower than an offense level 24.

          11.     Base Fine. The parties agree that under Section 8C2.4, the base fine is the greatest

   of the amount in the table in Section 8C2.4( d), the pecuniary gain to the defendant, or the pecuniary

   loss caused by the defendant. The parties agree that the base fine will be $3,500,000 based on an

   offense level of24 and the table in Section 8C2.4(d).

          12.     Culpability Score. The parties agree that the base score should start at 5 points,

   pursuant to Section 8C2.5(a), with an additional 1 point because the organization had 10 or more

   employees and an individual within substantial authority personnel participated in, condoned, or

   was willfully ignorant of the offense, pursuant to Section 8C2.5(b)(5). However, there should be

   a one-level reduction, pursuant to Section 8C2.5(g)(3).

           13.    Multiplier. The parties agree that under Section 8C2.6, the minimum multiplier for

   a culpability score of 5 is 1.00, and the maximum multiplier is 2.00.

           14.    Fine Range. The parties agree that under Section 8C2. 7, the guideline fine range is

   $3,500,000 to $7,000,000.

          15.     Payment of the Fine. Under Section 8C3.2(b), immediate payment of the fine shall

   be required unless the Court finds that the defendant is financially unable to make immediate
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   payment or that such payment would pose an undue burden on the organization. Based on

   corporate financial records produced to the government in November 2021, it appears the

   defendant does not have the ability to pay a fine.

          16.     The defendant is aware that the sentence has not yet been determined by the Court.

   The defendant also is aware that any estimate of the probable sentencing range or sentence that the

   defendant may receive, whether that estimate comes from the defendant's attorney, the

   government, or the probation office, is a prediction, not a promise, and is not binding on the

   government, the probation office or the Court. The defendant understands and acknowledges, as

   previously acknowledged in Paragraph 3 above, that the defendant may not withdraw his plea

   based upon the Court's decision not to accept a sentencing recommendation made by the

   defendant, the government, or a recommendation made jointly by the defendant and the

   government.

          17.     The defendant knowingly and voluntarily agrees that the following property is

   subject to forfeiture to the United States, pursuant to Title 18, United States Code, Section,

   981(a)(l)(C), because it constitutes or is derived from proceeds traceable to the conspiracy to

   commit mail fraud or wire fraud charged in Count 1 of the Indictment to which the defendant

   agrees to plead guilty: Certified funds in the amount of $223,430.40 (US) made payable by JP

   Morgan Chase Bank, N.A. to the United States Marshals Service by cashier's check number

   4555916142, dated March 6, 2017, which were seized pursuant to a warrant from account number

   117352830 held at JP Morgan Chase Bank, N.A., in the name of Blackstone Labs, LLC

   (hereinafter, the "Seized Funds").

            18.   Additionally, the defendant knowingly and voluntarily agrees to the entry of a

   forfeiture money judgment against the defendant for $1,000,000 (US) (hereinafter, the "Forfeiture
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   Money Judgment"), which the defendant admits and agrees is a sum of money equal in value to

   the property traceable to the conspiracy to commit mail fraud or wire fraud charged in Count 1 of

   the Indictment to which the defendant agrees to plead guilty.

            19.   The defendant knowingly and voluntarily agrees to waive its right to a hearing,

   pursuant to Fed. R. Crim. P. 32.2(b)(l)(A), to determine the requisite nexus between the Forfeiture

   Money Judgment and the Seized Funds and offense to which the defendant agrees to plead guilty

   herein. Furthermore, the defendant knowingly and voluntarily agrees that it shall not, in any

   manner, act in opposition to the government in seeking forfeiture of the Forfeiture Money

   Judgment or the Seized Funds. The defendant also knowingly and voluntarily agrees that it shall

   not, in any manner, act in opposition to the government in the disposal of evidence seized from

   the defendant in February 2017.

            20.   The defendant knowingly and voluntarily agrees to waive the following rights with

   respect to the forfeiture of the Seized Funds and the entry of the Forfeiture Money Judgment:

                  a.       All constitutional, legal, and equitable defenses to such forfeiture;

                  b.       Any constitutional or statutory double jeopardy defense or claim regarding

   such forfeiture;

                  c.       Any claim or defense to such forfeiture brought or raised under the Eighth

   Amendment to the United States Constitution, including, but not limited t?, any claim or defense

   of excessive fme; and

                  d.       Any right it may have to an appeal of any resulting order of forfeiture

   regarding the Seized Funds and the entry of the Forfeiture Money Judgment.

            21.   The defendant knowingly and voluntarily agrees and understands that the forfeiture

   of the Seized Funds and the entry of the Forfeiture Money Judgment agreed upon herein shall not
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   be treated as satisfaction (either partial or full) of any assessment, fine, restitution, cost of

   imprisonment, or any other penalty that the Court may impose upon the defendant in addition to ·

   the forfeiture. The defendant also agrees to assist the government in all proceedings, administrative

   or judicial, involving forfeiture to the United States of any property, including substitute property,

   regardless of its nature or form, real or personal, which the defendant or others known to the

   defendant, have accumulated as a result of illegal activities. The assistance shall include:

   identification of any property subject to forfeiture; agreement to the entry of an order enjoining the

   transfer or encumbrance of such property; and the transfer of such property to the United States by

   delivery to the government, upon the government's request, of any necessary and appropriate

   documentation, including consents to forfeiture and quit claim deeds, to deliver good and

   marketable title to such property.

             22.   The defendant knowingly and voluntarily agrees to fully satisfy the Forfeiture

   Money Judgment in this case by tendering to the United States a cashier's check made payable to

   the United States Marshals Service in the full amount of the Forfeiture Money Judgment after

   sentencing.

           23.     In furtherance of the collection of a restitution judgment, the defendant agrees to

   make full and accurate disclosure of its financial affairs to the government and Probation.

   Specifically, the defendant agrees that upon signing of this plea agreement, the defendant shall

   submit a completed Financial Disclosure Statement and shall fully disclose and identify all assets

   in which the defendant has any interest and/or over which the defendant exercises control, directly

    or indirectly, including those held by a nominee, or other third party. The defendant agrees to

   provide, in a timely manner, all financial information requested by the government and Probation,

    and upon request, to have the defendant's owner, officer, or agent meet in person to identify
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   assets/monies which can be used to satisfy the restitution judgment. In addition, the defendant

   expressly authorizes the government to obtain a credit report ofthe defendant and any ofits owners

   or officers.

           24.    The defendant agrees that it will not sell, hide, waste, encumber, destroy, or

   otherwise devalue any asset until the restitution judgment is paid in full without prior approval of

   the government. The defendant shall also identify any transfer of assets valued in excess of $5,000

   since the date of the defendant's indictment or when the defendant became aware of the criminal

   investigation, including the identity of the asset, the value of the asset, the identity of the third

   party to whom the asset was transferred, and the current location of the asset.

           25.    The defendant agrees to cooperate fully in the investigation and the identification

   of assets to be applied toward forfeiture and/or restitution. The defendant agrees that providing

   false or incomplete information about the defendant's financial assets, or hiding, selling,

   transferring or devaluing assets, and/or failing to cooperate fully in the investigation and

   identification of assets may be used as a basis for a separate prosecution, including, under Title 18,

   United States Code, Section 1001.

           26.     The defendant agrees that the agreed upon forfeiture and any fine or restitution

   imposed by the Court will be due and payable in full within 10 days of the entry of judgment

   following the sentencing hearing, and the defendant will not attempt to avoid or delay payment.

           27.    The defendant is aware that Title 28, United States Code, Section 1291 and Title

    18, United States Code, Section 3742 afford the defendant the right to appeal the sentence imposed

   in this case. Acknowledging this, in exchange for the undertakings made by the United States in

   this plea agreement, the defendant hereby waives all rights conferred by Sections 1291 and 3742

   to appeal any sentence imposed, including any restitution order, or to appeal the manner in which
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   the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

   result of an upward departure and/or an upward variance from the advisory guideline range that

   the Court establishes at sentencing.     The defendant further understands that nothing in this

   agreement shall affect the government's right and/or duty to appeal as set forth in Title 18, United

   States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

   United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291, the

   defendant shall be released from the a!bove waiver of his right to appeal his sentence.

          28.     The defendant further hereby waives all rights conferred by Title 28, United States

   Code, Section 1291 to assert any claim that (1) the statutes to which the defendant is pleading

   guilty are unconstitutional; and/or (2) the admitted conduct does not fall within the scope of the

   statutes of conviction.

          29.     By signing this agreement, the defendant acknowledges that the defendant has

   discussed the appeal waiver set forth in this agreement with the defendant's attorney. The

   defendant further agrees, together with the government, to request that the Court enter a specific

   finding that the defendant's waiver of its right to appeal the sentence imposed in this case and its

   right to appeal its conviction in the manner described above was knowing and voluntary.

          30.     Should the defendant withdraw, or attempt to withdraw, from this agreement for

   any reason, the defendant understands and agrees that any statements made to the government,

   including any factual statement prepared for submission to the Court in connection with the

   defendant's change-of-plea hearing, will become admissible as evidence and may be introduced

   affirmatively by the United States against the defendant in any criminal, civil, or administrative

   proceeding which may then be in effect or which may at any future time be initiated by the United

   States. This paragraph is explicitly intended as a waiver by the defendant of any and all protections
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   that would otherwise be afforded by application of Federal Rule of Criminal Procedure l l(f) and

   Federal Rule of Evidence 410, and applies once the defendant's authorized representative signs

   this agreement.

            31.     This is the entire agreement and understanding between the government and

   defendant. There are no other agreements, promises, representations, or understandings.

                                                           JUAN ANTONIO GONZALEZ
                                                           UNITED STATES ATTORNEY

                                                           GUSTAV W. EYLER
                                                           DIRECTOR
                                                           CONSUMER PROTECTION BRANCH
                                                           U.S. DEPARTMENT OF JUSTICE


   Date:
                                               By:    AL~~
                                                       Trial Attorney
                                                       JOHN W. BURKE
                                                       Assistant Director
                                                       DAVID A. FRANK
                                                       Senior Litigation Counsel
                                                       STEPHEN J. GRIPKEY
                                                       Trial Attorney
                                                       Consumer Protection Branch
                                                       U.S. Department of Justice

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   Date:    \\ · "iCD -'2-o"). \               By:

                                                       Michael T. Davis
                                                       Susan Dimitrovsky ·
                                                       Attorneys for Defendant



    Date:                                      By:
                                                       A&i~-e-----
                                                       BLACKSTONE LABS, LLC
                                                       Defendant
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